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Exhibit E

CFPB Response by Amy Dale - Misrepresentation of Communication

This exhibit contains the official response issued by Amy Dale, Senior Vice President of
Customer Service for New American Funding (NAF), to the Consumer Financial Protection
Bureau (CFPB) in response to Complaint No. 250319-19425105.

In her April 7, 2025, statement, Ms. Dale falsely claims that the Plaintiff's authorized
representative, Mr. Audury Petie Davis, was impersonating his mother and using multiple
unidentified email addresses. This is demonstrably untrue and contradicted by prior emails
between Ms. Dale and Mr. Davis, as well as formal authorization provided in Exhibit A.

The misrepresentation to a federal agency reflects an intentional attempt to discredit the
Plaintiff's complaint and obstruct scrutiny into the mishandling of the loan process. It also
supports Plaintiff's motion for discovery regarding internal communications and formal
interrogatories of Amy Dale, to evaluate her actions and statements under oath.
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Start a new complaint
(https://www.consumerfinance.gow/)

€ All complaints (.}

250319-19425105

CLOSED

@ Submitted
STATUS PRODUCT ISSUE
Submitted to the CFPB on Mortgage Applying for a mortgage or
3/19/2025 refinancing an existing mortgage

We received your complaint. Thank you.

We will review your complaint. Depending on what we find, we will typically:
» Send your complaint to the company for a response; or

» Send your complaint to another state or federal agency, or help you get in touch with your
state or local consumer protection office; or

» Let you know if we need more information to continue our work.

YOUR COMPLAINT

Here is the finalized and structured CFPB complaint in a professional and legal format:
Consumer Financial Protection Bureau (CFPB) Complaint Against New American
Funding {NAF} Company Information New American Funding Corporate Office: 14511
Myford Road, Suite 100, Tustin, CA 92780 Customer Service: (800) 450-2010 Loan Officer:
Shawn Wainwright Supervising Executive: Jason Miller, Branch Manager Complaint
Summary | applied for an FHA Cash-Out Refinance loan with New American Funding {NAF)
for my property located at 1823 State Street, Harrisburg, PA 17103. Throughout this process,
I have fully complied with all lender requests and provided all required documentation.
Despite this, NAF has engaged in deliberate delays, contracictary statements, and
regulatory violations, obstructing my ability to complete my refinance and causing financial
harm. On March 12, 2025, at 8:37 AM, my loan officer, Shawn Wainwright, left a voicemail
confirming that my employment verification was completed and that my file was moving
forward. However, later that same day, NAF falsely claimed they had “no update available”
on my loan, directly contradicting Wainwright's voicemail. On March 12, 2025, | formally
requested the immediate release of my FHA Case Number and Appraisal Transfer Code in
accordance with HUD Martgagee Letter 2009-40, which explicitly states that lenders must
transfer the FHA case number upon borrower request. NAF unlawfully refused to comply.
On March 13, 2025, | received a phone call from Shawn Wainwright, during which he
admitted that he “dropped the bail” on my loan processing, apologized for the delays, and
assured me that my mother's loan was moving forward. On March 14, 2025, | received an
email from Wainwright stating that my file had been reassigned to the Processing Manager
and that “upper management is aware” of my concerns. Despite this acknowledgment, no
resolution was provided, and | cantinued receiving vague and contradictory respanses, On
March 18, 2025, Jason Miller, Branch Manager at NAF and Wainwright's supervisor,
contacted me for the first time, claiming he was “just now hearing about this” and that he
would assist with resolving the issue. This directly contradicts Wainwright's March 14 email,
which stated that upper management was already aware. This further demonstrates New

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American Funding's internal communication failures, delays, and neglect in handling my
refinance. Additionally, NAF’s customer service agent, Carlos, refused to provide contact
information for their compliance department, obstructing my ability to escalate the issue to
regulatory authorities. This pattern of misconduct has caused financial harm, unnecessary
delays, and significant distress, as detailed in the following timeline. Timeline of
Events January 31, 2025 « Loan disclosures were sent for review and e-sign. February 3,
2025 * Interest rate locked at 7.25%, with an expiration date of March 20, 2025. February 5,
2025 « Signed and acknowledged a changed circumstance document, confirming intent to
proceed. February 18, 2025 © Appraisal was completed and uploaded to the loan portal. «
Ne official repair requirements were documented, violating FHA loan processing rules.
March 11, 2025 ¢ Follow-up email sent requesting a loan status update. # No response from
NAF. March 12, 2025 (8:37 AM) = Loan officer Shawn Wainwright left a voicemail confirming
that employment verification was completed and that my file was moving forward. March
12, 2025 (Later That Day) # NAF falsely claimed they had "no update available” on my loan,
contradicting Wainwright's voicemail. March 12, 2025 (Formal FHA Case Number Request)
Formally requested the immediate release of my FHA Case Number and Appraisal Transfer
Code per HUD Mortgagee Letter 2009-40. » Request was unlawfully denied. March 13, 2025
* Received a phone call from Shawn Wainwright, where he admitted he “dropped the ball”
an my loan processing, apologized, and assured me my mother's loan was moving forward.
March 14, 2025 © Received an email from Wainwright stating that my file was reassigned to
the Processing Manager and that upper management was aware of my concerns. * Despite
this, no corrective action was taken, and my loan continued to face delays. March 18, 2025 «
Jason Miller, Branch Manager at NAF and Wainwright's supervisor, contacted me for the first
time, claiming he was “just now hearing about this.” * This contradicts Wainwright's March
14 email, which stated that upper management was already aware. « This demonstrates
further delays, internal miscommunication, and mismanagement by NAF. Reliet
Sought 1. Monetary Compensation « Compensation for financial harm, emotional distress,
and increased costs due to delayed loan processing. * Reimbursement for any financial
damages, including lost time and opportunities caused by NAF’s mishandling. 2. Fair Market
Interest Rate & Immediate Closing * NAF must honor a new, fair market interest rate BELOW
my previous locked-in rate of 7.25%, considering the delays were entirely their fault. « NAF
must immediately approve and close my loan at the newly negotiated lower rate. 3. Formal
Investigation & Compliance Review « CFPB should investigate NAF's failure to comply with
HUD guidelines, their refusal to transfer my FHA Case Number, and the internal
mismanagement that caused these delays. 4. Formal Written Response from NAF’s
Compliance Department « NAF must provide: * Underwriting notes © Internal
communications * A documented explanation for the excessive delays and cantradictory
statements mace by loan officers and executives. Conclusion This complaint
highlights severe negligence, non-compliance with HUD/FHA guidelines, and unethical
business practices by New American Funding. Their failure to handle my refinance in a
timely and compliant manner has caused unnecessary distress and financial uncertainty. |
respectfully request immediate action to resolve these violations. This document is
ready to be submitted. If you need any final adjustments, let me know. Otherwise, copy and
paste it inte the CFPB complaint submission form.

ATTACHMENTS

Lack- IMG_2591. M
FHA_Application_of_Unused_Escrow_Funds.pdf = df ; = ‘IPeg a
92.2 KB} In_Agreement.p { ) Butler.zip
2 (102.7 KB} (1.8 MB)

View full complaint @

@ Sent to company

NaNO
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STATUS

Sent ta

company on 3/19/2025

We've sent your complaint to the company, and we will let you know when they respond.

Their response should include the steps they took, or will take, to address your camplaint.

Companies generally respond in 15 days. In same cases, the company will let you knaw

their

response is in progress and provide a final response in 60 days.

@ Company still working

STATUS

Compa

The

ny response is in progress as of 4/3/2025

company has responded that it is still working on your issue

In some cases, companies need more time to respond. You should receive a final response
within 60 days fram the date we sent your complaint to the company.

COMPANY'S INTERIM RESPONSE

New American Funding is currently researching into this matter and need additional time to complete our review and provide our
findings. Thank you in advance for your understanding. Respectfully, Customer Service Management

@ Company responded

STATUS

RESPONSE TYPE

Company respanded on 4/7/2025 Closed with explanation

Company's Response

Cansumer Financial Protection Bureau RE: Complaint No. 250319-19425105 / Maryann Butler To Whom It May Concern, New
American Funding, LLC ("NAF") is responding to the complaint filed by Maryann Butler. In researching this matter, our records
indicate in February 2025, Ms. Butler contacted NAF regarding a cash-out refinance of her subject property located at 1823 State
Street, Harrisburg, PA 17103, Loan Consultant, Mr. Wainwright, was assigned to assist with the loan inquiry. Mr. Wainwright had
initially been communicating with Ms. Butler's son, Mr. Davis, who stated he was assisting his mom with the loan process. During
some of their calls, Mr. Davis advised the loan consultant he would place a separate call to Ms. Butler, then join or add her on the
call. They were seeking assistance to pay off and consolidate debt. Ms. Butler gave Mr. Wainwright her authorization to go
through her son for communications for her refinance. During the initial phone conversation, information was abtained including
income, assets, and employment information. Ms. Butler agreed to having her consumer credit repart obtained. The loan
pragram discussed was for an FHA 20-year fixed rate cash-out refinance of the subject property. Ms. Butler was also advised an
appraisal of the subject property would be needed, and she would be required to make payment directly to the appraisal
management company for the appraiser's services. Ms. Butler had also been advised once the appraisal service had been
provided by a third-party licensed FHA appraiser, the fee would be non-refundable. Ms. Butler was conditionally pre-approved for
a loan, however, this was not a quarantee that the loan would close or fund, as NAF would need to verify all the information Ms.
Butler provided at the initial stage of the loan process. A written verification of employment (“WVOE") was also part of the loan
pracess. Initially there was a Pin No. needed to verify employment. Mr. Wainwright spake with Mr. Davis regarding the Pin No
needed, He eventually provided this information to verify emplayment. When NAF received the WVOE from Ms. Butler's
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employer, it reflected she did not have a 24-month employment history. This was an FHA requirement to obtain the FHA
financing. Mr, Wainwright informed Ms. Davis regarding the employment requirement and NAF needed her previous employer
information. Mr. Davis then advised Ms. Butler wanted to start another job with another company doing the same type of work as
the current employer. Mr. Wainwright advised Mr. Davis to have Ms. Butler hold off with the new job switch due to the loan
transaction and wait until her loan closes. Ms. Butler agreed to wait until the transaction was completed to switch to a new
employer. In the meantime, the job verification from Ms. Butler's previous employer took slightly longer than expected. The loan
was suspended by Underwriting due to Debt-ta-Income ("DTI") ratio and while waiting for the verification fram the previous
employer. We needed paystubs from Ms, Butler's prior employer and most recent 30 days of employment to be able to meet the
24-months FHA requirement. Prior to receiving the complaint with the BBB, Mr. Davis sent an email to NAF requesting a copy of
the appraisal and FHA case number released. The Sales Manager, Mr. Miller, responded to his email, advising he would be happy
to assist with the request and asked for the new Lender's contact information, however, Mr. Davis would nat pravide this
information. On 3/31/2025, | sent an email to Ms. Butler to advise FHA requirement 24-months employment to be eligible for
FHA financing, and explained NAF needed paystubs from her prior employer and most recent 30 days of employment to be able
to meat the 24-months FHA requirement. Ms. Butler was further advised once received, NAF would restructure her loan and more
forward to determine if her loan meets the requirement. | included a copy of the email that contained the home appraisal and
advised it was initially sent te her on 2/18/2025. Ms. Butler was further advised that NAF was unable to provide her with a closing
date, as we had not obtained full loan approval, since we were still waiting for her to provide the documents needed to proceed.
Mr. Davis began responding to me fram a different email address than what was on file. On 2/18/2025, a copy of the appraisal of
the subject property had been sent by email to Mr. Davis, as he was sending and replying to emails using Ms. Butler's email
address on file. The report was also completed “subject to” repair work needed of all chipped paint, which meant that the
chipped paint needed to be corrected, and a subsequent follow up appraisal inspection would be required to confirm the work
was completed. On Thursday, 4/3/2025, I sent an email to Ms, Butler and Mr. Davis, regarding the FHA Case Transfer request to a
new lender that Ms. Butler wished to proceed with, There is information NAF will require to be able to transfer the FHA case
number and appraisal. Without this information, we are unable to complete the transfer request. Once the infarmation is
provided, we can proceed with the transfer. We hope this has addressed all concerns related to this matter and we were unable
to finalize Ms. Butler's home financing needs. Please let us know if we can be of further assistance. Respectfully, Amy Dale Amy
Dale SVP, Customer Service

@ Feedback provided

STATUS

Feedback provided on 4/7/2025

Your feedback

THE COMPANY'S RESPONSE ADDRESSED ALL OF MY ISSUES
No

IP UNDERSTAND THE COMPANY'S RESPONSE TO MY COMPLAINT
No

THE COMPANY DID WHAT THEY SAID THEY WOULD DO WITH MY COMPLAINT
No

ADDITIONAL COMMENTS

The response is factually misleading and incomplete. No loan, including the Plaintif's,
proceeds to lock, appraisal, payoff, and disclosures without verified income. | have voicemail
{Exhibit 01) confirming verification on March 12. They requested paystubs AFTER that date
{Exhibit Z). Screenshots confirm | was blocked from email (Exhibit T). Loan docs list payotis
and reserves (Exhibit Y), which require verified underwriting. No Notice of Incompleteness
was issued. | reject their response due to misrepresentation and negligent processing. Full
rebuttal with exhibits is retained for legal and agency review.
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What happens now?
The complaint process is complete and your complaint is now closed.

We have taken the following additional actions on your complaint:

« We added your complaint to the CFPB's Consumer Complaint Database
(http://www.consumerfinance.gov/data-research/consumer-complaints}.

« Your feedback, and feedback from others, helps us understand how companies are
addressing concerns raised by consumers in their complaints, We will also share your
feedback with the company.

« We have also shared your complaint with the Federal Trade Commission, which will add
your complaint to its database for state and federal law enforcement agencies.

We appreciate your participation in the complaint process and your feedback an the
company's response. Both are important to us and consumers who may have similar issues
and concerns.

@ Closed

The CFPB has closed your complaint.

Privacy Act Statement
OMB #3170-0011

Note on user experience

Have a question? ¢Preguntas?
{855) 411-2372
TTY/TTD: (855) 729-2372

8 a.m. to 8 p.m. ET, Monday through Friday
(except federal holidays). (https://www.opm.gov/policy-data-oversight/pay-leave/federal-holidays/#url=Overview)

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